
Per. Curiam.
The point before the court is of consider-
able importance. It is to set aside the proceedings on the execution when the plaintiff himself has brought a set. fa. on the judgment, had a trial and a second judgment thereon which has been reversed for error.
This motion is to set aside the proceedings on the execution issued on the first judgment. It has been contended that the rule to show cause is of course; on this point it may be proper to remark, that it is not of course, either in this country or in England. Buller says it is granted for little more than asking; — but this little more shows it is not of course: hence we have more than once called for the grounds ©n which the application was made.
But we consider the motion now before tbe court as a special motion; and as it is of considerable importance, we think it reasonable that the party should be informed of the grounds on which it is to be argued, and have an opportunity of meeting the facts if there are any.
We are therefore unanimously of opinion that reasons should be filed and the argument postponed»
